      Case 4:15-cr-00063-DPM            Document 167          Filed 10/31/16      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                  PLAINTIFF

v.                                  NO. 4:15CR00063-02-JLH

CURTIS EARL EVANS, JR.                                                                 DEFENDANT

                                              ORDER

       Curtis Earl Evans, Jr., has filed a motion to vacate, set aside, or correct his sentence pursuant

to 28 U.S.C. § 2255 . The Court directs the United States to file a response to the motion on or

before November 18, 2016.

       IT IS SO ORDERED this 31st day of October, 2016.



                                                       __________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
